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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                               No. 13-337V
                                           Filed: June 17, 2016

* * * * * * *                *    *   *   *  **             UNPUBLISHED
BRIAN RANDALL,                               *
                                             *
                       Petitioner,           *              Special Master Gowen
                                             *
v.                                           *              Joint Stipulation on Damages;
                                             *              Tetanus, Diphtheria and Pertussis
SECRETARY OF HEALTH                          *              (“Tdap”) Vaccine; Guillain-Barré
AND HUMAN SERVICES,                          *              Syndrome (“GBS”); Chronic
                                             *              Inflammatory Demyelinating
                       Respondent.           *              Polyneuropathy (“CIDP”)
                                             *
* * * * * * * * * * * * *
Franklin J. Caldwell, Jr., Maglio, Christopher & Toale, Sarasota, FL, for petitioner.
Gordon E. Shemin, U.S. Department of Justice, Washington, DC, for respondent.

                              DECISION ON JOINT STIPULATION1

         On May 17, 2013, Brian Randall (“petitioner”) filed a petition pursuant to the National
Vaccine Injury Compensation Program.2 42 U.S.C. §§ 300aa-1 to 34 (2012). Petitioner alleged
that, as a result of receiving a tetanus, diphtheria and pertussis (“Tdap”) vaccination on
September 6, 2011, he developed a number of injuries, including Guillain-Barré Syndrome and
chronic inflammatory demyelinating polyneuropathy (“CIDP”). Stipulation at ¶¶ 1, 2, 4.
Further, petitioner alleged that he experienced residual effects of the injury for more than six
months. Id. at ¶ 4.




1
 Because this decision contains a reasoned explanation for the undersigned’s action in this case, the
undersigned intends to post this ruling on the website of the United States Court of Federal Claims, in
accordance with the E-Government Act of 2002, 44 U.S.C. § 3501 note (2012) (Federal Management and
Promotion of Electronic Government Services). As provided by Vaccine Rule 18(b), each party has 14
days within which to request redaction “of any information furnished by that party: (1) that is a trade
secret or commercial or financial in substance and is privileged or confidential; or (2) that includes
medical files or similar files, the disclosure of which would constitute a clearly unwarranted invasion of
privacy.” Vaccine Rule 18(b).

2
 The National Vaccine Injury Compensation Program is set forth in Part 2 of the National Childhood
Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended, 42 U.S.C. §§
300aa-1 to -34 (2012) (Vaccine Act or the Act). All citations in this decision to individual sections of the
Vaccine Act are to 42 U.S.C.A. § 300aa.
                                                      1
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         On June 16, 2016, the parties filed a stipulation in which they state that a decision should
be entered awarding compensation. Respondent denies that the Tdap vaccine caused any injury
to petitioner. Stipulation at ¶ 6. Nevertheless, the parties agree to the joint stipulation, attached
hereto as Appendix A. The undersigned finds the stipulation reasonable and adopts it as the
decision of the Court in awarding damages, on the terms set forth therein.

        The parties stipulate that petitioner shall receive the following in compensation:

    (1) A lump sum of $400,000.00 in the form of a check payable to petitioner. This
        amount represents compensation for all damages that would be available under 42
        U.S.C. § 300aa-15(a).

        Id. at ¶ 8.

        The undersigned approves the requested amount for petitioner’s compensation.
Accordingly, the clerk of the court SHALL ENTER JUDGMENT in accordance with the terms
of the parties’ stipulation.3

        IT IS SO ORDERED.

                                                          s/Thomas L. Gowen
                                                          Thomas L. Gowen
                                                          Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of notice
renouncing the right to seek review.
                                                     2
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